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                     Exhibit 12
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Is the president following the law when it comes to spending?
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      INSIGHTS


      Is the president following the law when it comes
      to spending?
      OpenOMB makes it easier to track apportionments
                         WILLIAM FORD, MEGAN LYLE, AND ALAN PALAZZOLO
                         OCT 02, 2024




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      When then-President Trump sought to pressure Ukrainian President Zelensky
      to investigate the Bidens ahead of the 2020 presidential election, he turned to
      federal funds for his leverage.

      In late 2018, Congress had appropriated $250 million in security assistance for
      Ukraine. So the same day Trump spoke with Zelensky by phone, he had his
      budget office put a hold on the security funds, freezing them in place. This
      hold violated federal law and led to the former president’s first impeachment.



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      To halt the funding, Trump relied on a little-known budget mechanism called
      an apportionment. Apportionments are how the president, acting through the
      Office of Management and Budget (OMB), carries out Congress’s spending
      laws. But presidents of both parties have abused this authority in defiance of
      the law. And until recently, they exercised this authority largely out of public
      view. Neither Congress nor the public had access to apportionments.

      In July 2022, because of a law Congress passed and President Biden signed,
      OMB finally began disclosing apportionments. But OMB did so by putting
      them on a website that’s hard to navigate and has no search function, making
      it difficult for Congress and the public to see how the president has been
      using this obscure but important authority.

      Today, Protect Democracy is launching OpenOMB.org, a new website that
      makes it easier to find and track apportionments — and assess whether the
      president is following federal spending laws or potentially flouting them.


      What is an apportionment?
      An apportionment is kind of like the government equivalent of an allowance;
      it's a way for the president to make sure that agencies don’t spend more than
      they are supposed to by giving them only a little of their yearly budget at a
      time. An apportionment is, in other words, a legally binding plan that sets the
      pace at which federal agencies may spend appropriated funds over the course
      of the fiscal year. It specifies what funds an agency may spend, when, and
      subject to what conditions.

      Apportionment is the second step in the life cycle of federal funds.

      First, Congress passes appropriations or other spending laws to fund federal
      programs, such as those providing medical care to veterans and financial
      support to lower the cost of home energy bills. But enacting those laws does
      not immediately send money to federal agencies to spend. Agencies must


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      receive an apportionment from OMB making the funds available to them. Only
      then can agencies spend the funds, following the plan the apportionment lays
      out.

      You can think of OMB’s role in this process as like turning the nozzle on a
      hose.

      Congress turns on the faucet to fill the hose with the water an agency needs
      to do its work. But the agency doesn’t get that water until OMB turns the
      nozzle, letting the water out. OMB’s turning the nozzle on or off, or adjusting
      the nozzle’s opening to let more or less water out at a given time, is meant to
      ensure the agency has enough water to do what it needs but not so much
      water that it uses up its supply before the end of the fiscal year.


      How have presidents abused apportionments?
      Congress created the apportionment process in the Antideficiency Act to help
      ensure agencies spend within the limits of the law.

      But presidents of both parties have abused this process to advance their
      agendas in defiance of the law. Former President Trump did so by withholding
      U.S. military aid to Ukraine through a series of apportionments that put a
      pause on that funding. The Government Accountability Office found that this
      hold violated the Impoundment Control Act. But Trump and his advisers have
      called for more of the same if he’s reelected. The former president has vowed
      to impound funds on a massive scale to “crush the Deep State.” And Trump’s
      former OMB Director Russell Vought has advocated for the “aggressive” use of
      apportionment authority “on behalf of the President’s agenda.”

      In the 1970s, President Nixon relied on apportionments, among other tools, to
      withhold billions of dollars in funds from domestic programs he disagreed
      with. This led to a thicket of lawsuits against the administration, which it
      overwhelmingly lost. And President Roosevelt pushed the bounds of this
      authority during World War II, using it to halt funding for numerous programs
      that Congress had enacted into law but that the president deemed non-

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      essential to the war effort. Roosevelt’s withholdings prompted blowback from
      members of Congress, who took to the House floor and used their time in
      hearings to challenge the legal basis for the withholdings, and lobbied the
      executive branch to change course.

      Despite the importance of apportionments, until July 2022, OMB exercised
      this authority largely out of public view. Neither Congress nor the public had
      access to apportionments.


      Congress mandates transparency — and so we built
      OpenOMB
      In the Consolidated Appropriations Acts of 2022 and 2023, Congress took
      action on a bipartisan basis to fix this transparency problem. It required OMB
      to post its apportionments on a public website. Under President Biden, OMB
      complied, creating apportionment-public.max.gov.

      But that site is hard to navigate and has no search function, making it difficult
      to find apportionments and oversee OMB’s work.

      That’s why we built OpenOMB — to make oversight of apportionments easier
      for Congress and the public.

      OpenOMB uses a simple process to provide easier access to apportionment
      files. Each day, OpenOMB pulls the primary source data from OMB’s site and
      stores the files in a database in a manner that allows them to be searched,
      filtered, and indexed. OpenOMB’s search function then provides a means to
      query that database, searching for information in and across apportionments.
      The site is, in short, a user-friendly interface that provides access to a store of
      primary source data that is updated daily and contains searchable and well-
      organized files. (All apportionment files displayed on OpenOMB reflect the
      underlying primary source data and documents that OMB discloses on its
      site.)




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      Congress created the apportionment process in the Antideficiency Act to
      reinforce its constitutional power of the purse. By using the authority to
      apportion funds at times to flout rather than carry out federal spending laws,
      presidents of both parties have undercut Congress and claimed greater power
      over federal funds than the law gives them.

      OpenOMB aims to make it easier for Congress and the public to find and track
      apportionments — and identify potential executive abuses of this authority if
      they are happening.

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